













			




IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,485






EX PARTE DENNIS HILDEBRANT, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 20090D04496 IN THE 120th DISTRICT COURT


FROM EL PASO COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery  and sentenced to twenty-two years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  We remanded this application to the trial court for findings of fact and
conclusions of law.

	The trial court has determined, after conducting a live evidentiary hearing, that trial counsel
failed to timely file a notice of appeal.  We find, therefore, that Applicant is entitled to the
opportunity to file an out-of-time appeal of the judgment of conviction in Cause No. 20090D04496
from the 120th Judicial District Court of El Paso County.  Applicant is ordered returned to that time
at which he may give a written notice of appeal so that he may then, with the aid of counsel, obtain
a meaningful appeal.  All time limits shall be calculated as if the sentence had been imposed on the
date on which the mandate of this Court issues.  We hold that, should Applicant desire to prosecute
an appeal, he must take affirmative steps to file a written notice of appeal in the trial court within 30
days after the mandate of this Court issues.


Delivered: February 2, 2011

Do Not Publish


